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                                                       S. DISTRICT COURT
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             IN THE UNITED STATES DISTRICT                             «
                                                             In Offiee
                 THE SOUTHERN DISTRICT OF GEORGIA                      ^
                           WAYCROSS DIVISION


UNITED STATES OF AMERICA,
                                  )
V.                                )           Case No. CR517-3

AUTWAIN HUNT,


                 Defendant.




      Neil Matthew Monroe, counsel of record for defendant Autwain

Hunt in the above-styled case has moved for leave of absence.              The

Court is mindful that personal and professional obligations require

the absence of counsel on occasion. The Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      SO ORDERED this           day of February 2018.




                                   WILLIAM T. MOOREf JR-
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
